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 1
                                    UNITED STATES DISTRICT COURT
 2
                                  NORTHERN DISTRICT OF CALIFORNIA
 3                                       SAN JOSE DIVISION

 4
     MUSI INC.,                                          Case No. 5:24-cv-06920-EKL
 5
                     Plaintiff,                          DECLARATION OF AARON
 6                                                       WOJNOWSKI IN SUPPORT OF
             v.                                          PLAINTIFF’S REPLY IN SUPPORT OF
 7                                                       MOTION FOR PRELIMINARY
     APPLE INC.,                                         INJUNCTION
 8
                     Defendant.
 9

10

11           I, Aaron Wojnowski, declare as follows:

12           1.      I am the Co-Founder and Chief Executive Officer (“CEO”) of Musi Inc. (“Musi”). I

13   make this declaration in support of Plaintiff’s Reply in Support of Motion for Preliminary Injunction

14   based on my personal knowledge. If called upon to do so, I could and would testify competently to the

15   facts set forth herein.

16           2.      As explained in my Wojnowski October 9 Declaration, Musi was a successful app

17   available on the App Store for over a decade, until Apple removed the Musi app from the App Store

18   on September 24, 2024. Because Apple removed the Musi app from the App Store, the Musi app is no

19   longer available for download by new users or by existing users if the app is offloaded at any time,

20   which is typical if they start using a new phone. In the four months before Apple’s removal of the

21   Musi app from the App Store, Musi was gaining an average of 886,148 new users per month. Musi

22   has, of course, gained no new users since September 24, 2024.

23           3.      As noted in my Wojnowski October 9 Declaration, because of Apple’s removal of the

24   Musi app from the App Store, the Musi app is also rapidly losing its existing user base. Because the

25   Musi app is not available on the App Store, if an existing user loses access to the Musi app for any

26   reason, they are not able to reinstall Musi. Thus, for example, any time an existing user gets a new

27   phone, or upgrades their iOS, the user risks losing their Musi app. In addition, if an existing Musi user

28   gets a new phone, there is no way for that user to redownload Musi to their new phone. In the example
                                                        1
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 1   of a user getting a new phone, iOS typically relies on re-downloading the user’s installed apps from
 2   the App Store when a user restores their phone from a backup. In Musi’s case this will fail, meaning
 3   that the user will lose access to the app and their data indefinitely. In addition, Apple phones come
 4   with an option to offload unused apps, which will automatically remove apps to free up storage space,
 5   for example when making room for an iOS update. If an existing user has previously enabled this
 6   feature and attempts to use Musi again after it has been offloaded, Musi cannot be re-accessed because
 7   the App Store does not permit that user to redownload Musi.
 8          4.      For all of these reasons, since Apple’s removal of the Musi app from the App Store,
 9   Musi’s daily active user base (the number of unique users who engaged with Musi over a 24-hour
10   period) has dropped by 1.5 million users, and its monthly active user base (the number of unique users
11   who engaged with Musi over the course of a month) has plummeted by 3 million.
12          5.      Since Apple’s removal of the Musi app from the App Store, Musi has received many
13   inquiries from existing users who have lost access to Musi by either moving to a new phone or
14   upgrading their iOS. A true and correct copy of exemplars of inquiries received by Musi that I have
15   personally viewed related to this topic are attached hereto as Exhibit A, which is a true and correct
16   copy of a November 18, 2024 email received by Musi, Exhibit B, which is a true and correct copy of
17   a November 17, 2024 email received by Musi, and Exhibit C, which is a November 14, 2024 email
18   received by Musi.
19          6.      I have also personally seen several social media posts from existing users expressing
20   frustration over the loss of access to Musi via new phone purchase or iOS upgrade. Some of these
21   posts have gone viral, with thousands of customers grieving the loss of the Musi app. Representative
22   examples that I have personally viewed are attached hereto as Exhibit D, which is a true and correct
23   copy of a screenshot taken at my direction on December 5, 2024, of a Reddit.com comment thread,
24   available at https://www.reddit.com/r/Musi_App/comments/1foro3a/musi_app_no_longer_in_app_
25   store/ and as Exhibit E, which is a true and correct copy of a screenshot taken at my direction on
26   December 4, 2024, of a TikTok video post available at https://www.tiktok.com/@gkysdude/video/
27   7441320832258936094.
28          7.      Given the frequency at which users tend to either buy a new phone or upgrade their
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 1   iOS, Musi’s user base is rapidly declining. This, in conjunction with Musi’s inability to get new users,
 2   will destroy not only Musi’s financial viability as a company, but will also irreparably destroy the
 3   customer goodwill and reputation Musi spent over a decade building.
 4          8.        Further, Musi is losing its existing user base to other apps that offer similar services to
 5   Musi. Users who have lost access to Musi are now looking for alternatives. Indeed, Musi users are
 6   actively soliciting suggestions for other apps to purchase or download to replace the Musi app in light
 7   of its removal from the App Store. A representative example is attached hereto as Exhibit F, which is
 8   a true and correct copy of a screenshot taken at my direction on December 3, 2024 of a Reddit.com
 9   comment thread, available at https://www.reddit.com/r/Musi_App/comments/1h29gf2/hope/. This
10   threat is heightened because Musi, as a result of Apple’s removal of the Musi App from the App Store,
11   is currently unable to push out any updates or upgrades to the Musi app, leaving Musi unable to keep
12   up with its competition in its offerings. For example, many apps, including Musi in past years, offer
13   yearly look-back data for users to learn what content they enjoyed the most. Because Musi is unable
14   to update the app, it now cannot offer this for its users. It is exceedingly unlikely that Musi will be
15   able to regain lost users a year or more down the line, after litigation has concluded, after they have
16   switched to competing apps.
17          9.        As detailed in my Wojnowski October 9 Declaration, Musi’s inability to update the app
18   to account for new iOS updates presents another threat, namely that Musi will become inoperable or
19   riddled with bugs. In the past, key features of Musi have had to be updated to correspond to iOS
20   updates. Examples of this include 1) iOS SDK changes relating to Control Center which broke the
21   ability to skip or pause a track using headphones, and 2) changes to the way that Apple’s
22   AVFoundation library handled interruptions as they relate to the user’s alarms, among others. Musi
23   has certainty in terms of the way its app performs on current and prior iOS versions, but has no way
24   to accommodate changes on future versions. As it stands today, Musi would be unable to update the
25   app to address any iOS update that renders Musi inoperable or subjects it to indeterminate bugs due to
26   platform changes not in Musi’s control. This threat of complete destruction remains ever-present as
27   long as Musi is precluded from updating the app, i.e., as long as the Musi app remains removed from
28   the App Store.
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 1            10.   At the current rate at which Musi is losing daily active users, and, factoring in the
 2   significant likelihood that the Musi app could be rendered inoperable at a moment’s notice, Musi’s
 3   business will be decimated over the next 12 months.
 4            11.   As noted in my Wojnowski October 9 Declaration, with Musi’s absence from the App
 5   Store, several imposter apps have sprung up. I am aware of at least a dozen imposter apps that were
 6   available for download on the App Store shortly after Musi’s removal. Some of these apps stole Musi’s
 7   brand and required a large up-front fee to scam users into thinking they were “regaining access” to
 8   Musi’s services. Others used variations of Musi’s brand in order to trick users into thinking there was
 9   an affiliation between the imposter app and the Musi app. Musi has vigilantly reported these apps to
10   Apple in order to avoid further reputational harm, but imposter apps continue to pop up to leach off
11   Musi’s goodwill and the user confusion created by Apple’s removal of the Musi app from the App
12   Store.
13            12.   Musi has received inquiries from users confused by the presence of these imposter
14   apps, which the users mistake for the official Musi app. Attached hereto as Exhibit G is a true and
15   correct copy of a November 20, 2024 user inquiry received by Musi relating to a copycat app. I am
16   also aware of several complaints on social media relating to imposter apps. Specifically, several users
17   have claimed to download the Musi app and complained about the quality, when in reality they must
18   have downloaded an imposter app as Musi is not available for download. Attached hereto as Exhibit
19   H is a true and correct copy of a screenshot taken at my direction on November 21, 2024, of a
20   Reddit.com     comment     thread,    available   at   https://www.reddit.com/r/Musi_App/comments/
21   1foro3a/comment/lr2wtio/. Attached hereto as Exhibit I is a true and correct copy of a screenshot
22   taken at my direction on November 21, 2024, of a Reddit.com comment thread, available at
23   https://www.reddit.com     /r/Musi_App/comments/1g04vzm/musi_eq_not_showing_up/.              Attached
24   hereto as Exhibit J is a true and correct copy of a screenshot taken at my direction on November 21,
25   2024 of a Reddit.com comment thread, available at https://www.reddit.com/r/Musi_App/comments/
26   1ft6jvb/i_hate_ the_new_musi_update/.
27            13.   These imposter apps are tricking Musi’s users into downloading lower quality apps,
28   which severely harms Musi’s goodwill and reputation. When Musi was available on the App Store, it
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 1   was much easier for users to discern between the real Musi and imposter apps because Musi showed
 2   up near the top of the search results, had millions of positive user reviews, and held top chart positions,
 3   including on best of lists. Imposter apps continue to appear on the App Store, and Musi’s removal
 4   from the App Store has made combatting this threat to Musi’s prospective users and to Musi’s goodwill
 5   exceedingly difficult.
 6          14.     Musi was unaware until it received Apple’s Opposition that Apple and YouTube
 7   engaged in a phone conversation in July 2024 regarding the Musi app or regarding any complaint by
 8   YouTube regarding the Musi app. Nor was Musi ever asked or given any opportunity to respond to
 9   any assertions made by YouTube regarding Musi or the Musi app during that phone call. Rather, the
10   only “comments” ever provided to Musi from YouTube regarding the complaint from YouTube that
11   Apple stated led to its removal of the Musi app from the App Store were the five words referenced in
12   Musi’s opening brief and included in an August 8, 2024, email from Apple to Musi: “violating
13   YouTube Terms of Service.”
14          15.     It is my understanding based on the representations made in Apple’s Opposition that,
15   on September 11, 2024, Apple received a letter from the National Music Publishers Association
16   (“NMPA”), that this letter was purportedly submitted by the NMPA in support of YouTube’s July
17   2024 complaint against the Musi app, and that this letter and “evidence” purportedly included with it
18   were part of the reason for Apple’s removal of the Musi app. See Dkt. 30-14. Neither Apple, YouTube,
19   the NMPA, nor any other party ever disclosed the NMPA letter or its contents to Musi, told Musi that
20   any letter from NMPA had anything to do with Apple’s removal of the Musi app, nor sought any
21   response from Musi to any assertions or “evidence” in the NMPA’s letter. To be clear, Apple’s
22   Opposition is the first time that Musi was ever made aware of the NMPA letter. As far as Musi is
23   aware, the NMPA has never filed a complaint against Musi via Apple’s app dispute process.
24          16.     I have now read the NMPA letter, and it is riddled with falsehoods. For example, the
25   letter claims that Musi was removed from the Google Play Store. That claim is false. The Musi app
26   was never removed from the Google Play Store because it was never offered on that platform—the
27   Musi app has been offered only on the Apple App Store. As another example, the Musi app does not,
28   as the NMPA letter claims, “leech[] its content offerings from YouTube’s Application Programming
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 1   Interface (‘API’) to avoid paying copyright licensing fees.” Id. The Musi app does not rely on or access
 2   YouTube’s Data/iFrame Application Programming Interface API. To be clear, the Musi app never
 3   accesses YouTube’s non-public interfaces. Instead, the Musi app plays or displays content based on
 4   the user’s own interactions with YouTube’s website via a functional interface. Additionally, the Musi
 5   app has never, as the NMPA letter claims, given users the ability to “mute ads.” Id. Rather, a Musi
 6   user accesses video media directly from YouTube. Musi does not interfere with any ads to the extent
 7   they are included within the publicly-available video media streamed by a Musi user. Finally, the Musi
 8   app does not, as the NMPA letter claims, use “multiple API-tokens” or “API-token bucketing.” Id.
 9   Such “token-bucketing” would involve registering multiple API keys and distributing them to different
10   users, thus defeating quotas or rate limits on YouTube Data/iFrame API tokens. But, again, Musi does
11   not use YouTube’s Data/iFrame API, and thus does not, and would have no reason to, use “token-
12   bucketing” or any other method to avoid rate limits on YouTube API tokens.
13          17.     The NMPA letter also claims that Musi violates YouTube’s API Services Terms of
14   Service because the Musi app allows background play. Id. Setting aside the fact that Musi does not
15   use YouTube’s Data/iFrame API, and thus is not subject to the YouTube API Services Terms of
16   Service, the Musi app provides the same functionality here that any web browser would. Any internet
17   user today could open the YouTube website on a web browser (including Apple’s own native web
18   browser for the iPhone, Safari) and start playing a video. The user could then navigate away from the
19   YouTube website. The video playback would stop, but the user could navigate to their lock screen and
20   select play. The video would resume in the background.
21          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the United
22   States of America that the foregoing is true and correct and that I executed this declaration on
23   December 6, 2024 in Manitoba, Canada.
24
                                                            /s/ Aaron Wojnowski
25                                                           Aaron Wojnowski
26

27   I hereby attest that I have on file all holographic signatures corresponding to any signatures
     indicated by a conformed signature (/S/) within this e-filed document.
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